108 F.3d 336
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Howard BROWNING, Plaintiff-Appellant,v.WALDEN BOOKS;  K Mart;  Craig Chapman, Defendant-Appellee.
    No. 96-56051.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 18, 1997.*Decided Feb. 20, 1997.
    
      Before:  ALARCN, CANBY and TASHIMA, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Howard Browning appeals pro se the district court's dismissal of his Racketeer Influenced and Corrupt Organizations Act ("RICO") [18 U.S.C. §§ 1961-1968] action alleging that employees of Walden Book Company, Inc. conspired to implant wire devices in books he had purchased.  We affirm.  We agree with the district court that Browning's action is barred by the doctrine of res judicata, see Sanchez v. City of Santa Ana, 936 F.2d 1027, 1036 (9th Cir.1990) (citations and quotations omitted), cert. denied, 112 S.Ct. 417 (1991), and that his complaint fails to state a claim for a violation of RICO, see Oscar v. University Students Co-op Ass'n, 965 F.2d 783, 786 (9th Cir.)  (en banc), cert. denied, 113 S.Ct. 655 (1992).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    